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                                                 UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF GEORGIA
                                                              ATLANTA DIVISION
 In re Cynthia Woods Ward                                                                       Case No.                       17-57301
                                                                                                Chapter 13
                                                       AMENDED CHAPTER 13 PLAN
Extension                                                                               Composition

You should read this Plan carefully and discuss it with your attorney. Confirmation of this Plan by the Bankruptcy Court may
modify your rights by providing for payment of less than the full amount of your claim, by setting the value of the collateral
securing your claim, and/or by setting the interest rate on your claim.
Debtor or Debtors (hereinafter called "Debtor") proposes this Chapter 13 Plan:
    1. Submission of Income. Debtor submits to the supervision and control of the Chapter 13 Trustee ("Trustee") all or such portion of
       future earnings or other future income of Debtor as is necessary for the execution of this Plan.
    2. Plan Payments and Length of Plan. Debtor will pay the sum of             $257.00        per month to Trustee by Payroll
       Deduction(s) or by Direct Payment(s) for the applicable commitment period of                   36          months, unless all allowed
       claims in every class, other than long-term claims, are paid in full in a shorter period of time. The term of this Plan shall not exceed
       sixty (60) months. See 11 U.S.C. §§ 1325(b)(1)(B) and 1325(b)(4). Each pre-confirmation plan payment shall be reduced by any pre-
       confirmation adequate protection payment(s) made pursuant to Plan paragraph 6(A)(i) and § 1326(a)(1)(C).
              The following alternative provision will apply if selected:
                  IF CHECKED, Plan payments will increase by                              on
              upon completion or termination of                                                                                          .


    3. Claims Generally. The amounts listed for claims in this Plan are based upon Debtor's best estimate and belief. An allowed
       proof of claim will be controlling, unless the Court orders otherwise. Objections to claims may be filed before or after confirmation.
    4. Administrative Claims Trustee will pay in full allowed administrative claims and expenses pursuant to §507(a)(2) as set forth below,
       unless the holder of such claim or expense has agreed to a different treatment of its claim.


     (A). Trustee's Fees. The Trustee shall receive a statutory fee in an amount established by the Attorney General and
the United States Trustee.
        (B). Debtor's Attorney's Fees. Debtor and Debtor's attorney have agreed to a base attorney fee in the amount of
       $4,250.00       for the services identified in the Rule 2016(b) disclosure statement filed in this case. The amount of          $290.00
was paid prior to the filing of the case. The Trustee shall disburse the unpaid amount of the fee,            $3,960.00      as allowed under
General Order 18-2015, as follows: (1) Upon the first disbursement following confirmation of a Plan, the Trustee shall disburse to Debtor's
attorney from the funds available and paid into the office of the Trustee by Debtor or on Debtor's behalf, up to            $3,960.00       after the
payment of any payments under 11 U.S.C. § 1326(a)(1)(B) or (C) and administrative fees. The remaining balance of the fees shall be paid up to
        $189.00        per month until the fees are paid in full; (2) If the case converted prior to confirmation of the plan, Debtor directs the
Trustee to pay fees to Debtor's attorney from the funds available of            $2,000.00      (amount not to exceed $2,000.00); (3) If the case is
dismissed prior to confirmation of the plan fees for Debtor's attorney of            $2,000.00      as set forth on the 2016(b) disclosure statement
(amount not to exceed $2,000.00) are allowed pursuant to General Order 18-2015 and shall be paid by the Trustee from the funds available
without a fee application. Debtor's attorney may file a fee application for fees sought over $2,000.00 within 10 days of the Order of Dismissal;
(4) If the case is converted after confirmation of the plan, Debtor directs the Trustee to pay to Debtor's attorney from the funds available, any
allowed fees which are unpaid; and (5) If the case is dismissed after confirmation of the plan, Trustee shall pay to Debtor's attorney from the
funds available, any allowed fees which are unpaid.


Debtor and Debtor (s) attorney have further agreed that Debtor(s) attorney may be paid for “non base services” as they are performed on an as
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needed basis. These “non base services”, and the agreed fee for each, are identified in Paragraph 6 of the Rule 2016(b) disclosure statement in
this case. Upon completion of a non base service, Debtor’s attorney may file an application with the court, serving all parties-in-interest with
notice of the application and providing an opportunity to be heard on the matter. If the non base fee is approved by the court, then the fee
shall be added to the balance of the unpaid base fee in this case and paid in accordance with this paragraph. If the base fee has been paid in
full, then the fee shall be paid up to $___189.00__ per month, and the distribution to creditors shall be reduced, pro rata, by the amount until
the additional fee is pain is full.
5.    Priority Claims.
            (A) Domestic Support Obligations.
                None. If none, skip to Plan paragraph 5(B).

                  (i). Debtor is required to pay all post-petition domestic support obligations directly to the holder of the claim.


                  (ii). The name(s) and address(es) of the holder of any domestic support obligation are as follows. See 11 U.S.C. §§ 101(14A)
                  and 1302(b)(6).




                  (iii). Anticipated Domestic Support Obligation Arrearage Claims


                       (a). Unless otherwise specified in this Plan, priority claims under 11 U.S.C. § 507(a)(1) will be paid in full pursuant to
                       11 U.S.C. § 1322(a)(2). These claims will be paid at the same time as claims secured by personal property, arrearage
                       claims secured by real property, and arrearage claims for assumed leases or executory contracts.
                            None; or

                      (a)                                                 (b)                                             (c)
                  Creditor                                       Estimated arrearage                              Projected monthly
              (Name and Address)                                        claim                                     arrearage payment
                    -NONE-

                       (b). Pursuant to §§ 507(a)(1)(B) and 1322(a)(4), the following domestic support obligation claims are assigned to, owed
                       to, or recoverable by a governmental unit.
                            None; or

                       Claimant and proposed treatment:


          (B). Other Priority Claims (e.g., tax claims). These priority claims will be paid in full, but will not be funded until after all
          secured claims, lease arrearage claims, and domestic support claims are paid in full.
                                             (a)                                                                        (b)
                                          Creditor                                                                Estimated claim
                               Georgia Department Of Revenue                                                           $0.00
                                  Internal Revenue Service                                                             $0.00


6. Secured Claims.
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(A). Claims Secured by Personal Property Which Debtor Intends to Retain.
                 (i). Pre-confirmation adequate protection payments. No later than 30 days after the date of the filing of this plan or the
                 order for relief, whichever is earlier, the Debtor shall make the following adequate protection payments to creditors
                 pursuant to § 1326(a)(1)(C). If the Debtor elects to make such adequate protection payments on allowed claims to the Trustee
                 pending confirmation of the plan, the creditor shall have an administrative lien on such payment(s), subject to objection. If
                 Debtor elects to make such adequate protection payments directly to the creditor, Debtor shall provide evidence of such
                 payment to the Trustee, including the amount and date of the payment.
                 Debtor shall make the following adequate protection payments:
                     directly to the creditor; or

                     to the Trustee pending confirmation of the plan.


              (a)                                      (b)                                                 (c)
           Creditor                                 Collateral                                     Adequate protection
                                                                                                    payment amount
           -NONE-



                 (ii). Post confirmation payments. Post-confirmation payments to creditors holding claims secured by personal property
                 shall be paid as set forth in subparagraphs (a) and (b). If Debtor elects to propose a different method of payment, such
                 provision is set forth in subparagraph (c).
                      (a). Claims to Which § 506 Valuation is NOT Applicable. Claims listed in this subsection consist of debts secured
                      by a purchase money security interest in a vehicle for which the debt was incurred within 910 days of filing the
                      bankruptcy petition, or, if the collateral for the debt is any other thing of value, the debt was incurred within 1 year of
                      filing. See § 1325(a)(5). After confirmation of the plan, the Trustee will pay to the holder of each allowed secured claim
                      the monthly payment in column (f) based upon the amount of the claim in column (d) with interest at the rate stated in
                      column (e). Upon confirmation of the plan, the interest rate shown below or as modified will be binding unless a timely
                      written objection to confirmation is filed and sustained by the Court. Payments distributed by the Trustee are subject
                      to the availability of funds.
                          None; or



         (a)                       (b)                         (c)                   (d)                    (e)                    (f)
      Creditor                  Collateral                  Purchase                Claim                Interest               Monthly
                                                              date                 amount                  rate                 payment
      -NONE-


                      (b). Claims to Which § 506 Valuation is Applicable. Claims listed in this subsection consist of any claims secured by
                      personal property not described in Plan paragraph 6(A)(ii)(a). After confirmation of the plan, the Trustee will pay to the
                      holder of each allowed secured claim the monthly payment in column (f) based upon the replacement value as stated in
                      column (d) or the amount of the claim, whichever is less, with interest at the rate stated in column (e). The portion of
                      any allowed claim that exceeds the value indicated below will be treated as an unsecured claim. Upon confirmation of
                      the plan, the valuation and interest rate shown below or as modified will be binding unless a timely written objection to
                      confirmation is filed and sustained by the Court. Payments distributed by the Trustee are subject to the availability of
                      funds.
                            None; or
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          (a)                    (b)                     (c)                         (d)                         (e)                  (f)
       Creditor               Collateral              Purchase                  Replacement                   Interest             Monthly
                                                        date                       value                        rate               payment
       -NONE-

                      (c). Other provisions.


          (B). Claims Secured by Real Property Which Debtor Intends to Retain. Debtor will make all post-petition mortgage
          payments directly to each mortgage creditor as those payments ordinarily come due. These regular monthly mortgage payments,
          which may be adjusted up or down as provided for under the loan documents, are due beginning the first due date after the case is
          filed and continuing each month thereafter, unless this Plan provides otherwise. Trustee may pay each allowed arrearage claim at
          the monthly rate indicated below until paid in full. Trustee will pay interest on the mortgage arrearage if the creditor requests
          interest, unless an objection to the claim is filed and an order is entered disallowing the requested interest.

                        (a)                                          (b)                         (c)                             (d)
                     Creditor                                     Property                Estimated pre-                 Projected monthly
                                                                 description                  petition                   arrearage payment
                                                                                             arrearage
                                                                                            $7,310.00
 Paces Contracting Services, LLC c/o Isenberg &        848 Hartford Pl Sw, Atlanta,                              $50.00 increasing to $239.00 in
                  Hewitt P.C.                                   GA 30310                                                    July 2018
                                                                                               $0.00                           $0.00
              Habitat For Humanity                     848 Hartford Pl Sw, Atlanta,
                                                                GA 30310




          (C). Surrender of Collateral. Debtor will surrender the following collateral no later than thirty (30) days from the filing of the
          petition unless specified otherwise in the Plan. Any claim filed by a secured lien holder whose collateral is surrendered will be
          treated as unsecured. Any involuntary repossession/foreclosure prior to confirmation of this Plan must be obtained by a filed
          motion and Court order, unless the automatic stay no longer applies under § 362(c). Upon Plan confirmation, the automatic stay
          will be deemed lifted for the collateral identified below for surrender and the creditor need not file a Motion to Lift the Stay in
          order to repossess, foreclose upon or sell the collateral. Nothing herein is intended to lift any applicable co-Debtor stay, or to
          abrogate Debtor's state law contract rights.

                   (a)                                                                       (b)
                Creditor                                                       Collateral to be surrendered
               -NONE-
 7. Unsecured Claims. Debtor estimates that the total of general unsecured debt not separately classified in Plan paragraph 10
is      $6,276.00       . After all other classes have been paid, Trustee will pay to the creditors with allowed general unsecured claims a pro
rata share of        $0.00           or        100.00        % , whichever is greater. Trustee is authorized to increase this dollar amount or
percentage, if necessary, in order to comply with the applicable commitment period stated in paragraph 2 of this Plan.
 8. Executory Contracts and Unexpired Leases. The following executory contracts and unexpired leases are assumed,
and payments due after the filing of the case will be paid directly by Debtor, not through Trustee, as set forth below in column (c).
Debtor proposes to cure any default by paying the arrearage on the assumed leases or contracts in the amounts projected in column (d) at the
same time that payments are made to secured creditors. All other executory contracts and unexpired leases of personal property are rejected
upon conclusion of the confirmation hearing.
     None; or
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          (a)                             (b)                                        (c)                                      (d)
       Creditor                   Nature of lease or                        Payment to be paid                        Projected arrearage
                                  executory contract                        directly by Debtor                         monthly payment
                                                                                                                       through plan (for
                                                                                                                         informational
                                                                                                                           purposes)
      -NONE-


 9. Property of the Estate. Property of the estate shall not vest in Debtor until the earlier of Debtor's discharge or dismissal of
this case, unless the Court orders otherwise.


10. Other Provisions:
     (A). Special classes of unsecured claims.
     Trustee shall not fund student loans during this active bankruptcy.
     (B). Other direct payments to creditor.


     (C). Other allowed secured claims:
     A proof of claim which is filed and allowed as a secured claim, but is not treated specifically under the plan, shall be funded with
     _______0.00___interest as funds become available after satisfaction of the allowed secured claims which have been treated by the plan
     and prior to payment of allowed non- administrative priority claims (except domestic support obligation claims as set forth in paragraph
     5(A), above) and general unsecured claims. Notwithstanding the foregoing, the Debtor or any other party in interest may object to the
     allowance of the claim.


     (D). Claims subject to lien avoidance pursuant to 11 U.S.C. §522(f):
     The allowed secured claim of each creditor listed below shall not be funded until all allowed, secured claims which are being treated by
     the plan are satisfied. If an order is entered avoiding the creditor's lien, that creditor's claim shall be treated as a general, unsecured claim
     to the extent it is not otherwise secured by property of the estate and treated by the plan. To the extent that the creditor's lien is not
     avoided and is not otherwise treated by the plan, the secured claim shall be funded as set forth in the above paragraph. This paragraph
     shall apply to the following creditors:



     (E). Other Provisions:
     Any federal tax refunds the debtor is entitled to receive during the applicable commitment period shall be paid into the Debtor's Chapter
     13 case. Further, the debtor authorizes and instructs the Internal Revenue Service to send any refund for said years to the Debtor's
     Chapter 13 Trustee.Upon written request to the Chapter 13 Trustee, the Debtor may retain up to $2000.00 of a tax refund without a
     motion being filed.




 Date to:                      07/10/2017                                                 /s/ Cynthia Ward
                                                                            Signature of Debtor
                  /s/ Howie Slomka
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Debtor's Attorney                               Signature of Joint Debtor
